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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

CASE NUMBER

Clinton Brown

2:22-cv-09203-MEMF-KS

PLAINTIFE(S)
Vv.
Clark R. Taylor, AICP, The Los Angeles County Department of ORDER ON REQUEST TO PROCEED
Regional Planning IN FORMA PAUPERIS
DEFENDANT(S) (NON-PRISONER CASE)

 

 

The Court has reviewed the Request to Proceed In Forma Pauperis (the "Request") and the documents submitted with it. On the
question of indigency, the Court finds that the party who filed the Request:

[_] is not able to pay the filing fees. is able to pay the filing fees.

[_] has not submitted enough information for the Court to tell if the filer is able to pay the filing fees. This is what is missing:

IT IS THEREFORE ORDERED that:
[_] The Request is GRANTED.

[_] Ruling on the Request is POSTPONED for 30 days so that the filer may provide additional information.
The Request is DENIED because the filer has the ability to pay.

[_] As explained in the attached statement, the Request is DENIED because:

[_] The District Court lacks [7] subject matter jurisdiction [7] removal jurisdiction.
[_] The action is frivolous or malicious.

[| The action fails to state a claim upon which relief may be granted.

[_] The action seeks monetary relief against defendant(s) immune from such relief.

IT IS FURTHER ORDERED that:
[_] Within 30 days of the date of this Order, the filer must do the following:

If the filer does not comply with these instructions within 30 days, this case will be DISMISSED without prejudice.

As explained in the attached statement, because it is absolutely clear that the deficiencies in the complaint cannot be cured b
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amendment, this case is hereby DISMISSED [WITHOUT PREJUDICE -] WITH PREJUDICE.

[_] This case is REMANDED to state court as explained in the attached statement.

January 24, 2023 /) oO

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Date United tftes District Judge
CV-73 (07/22) ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (1 ON-PRISONER CASE)

   

 

 
